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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


JESSIE HARRISON #185856,

            Plaintiff,                          Case No. 1:10−cv−00570−JTN−ESC

    v.                                          Hon. Janet T. Neff

MICHIGAN, STATE OF, et al.,

            Defendants.
                                            /



                                         ORDER
       For reasons stated on the record at the hearing held June 26, 2014, Plaintiff's
Motion for Leave to File First Amended Complaint (Dkt. 67) is GRANTED, and the
First Amended Complaint is accepted for filing.

         IT IS SO ORDERED.


Dated: June 26, 2014                             /s/ Ellen S. Carmody
                                                ELLEN S. CARMODY
                                                U.S. Magistrate Judge
